






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO.  03-01-00600-CR







Rocky Lee Taylor, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 38,197, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING







Rocky Lee Taylor appeals from an order revoking community supervision and
imposing sentence of ten years' imprisonment.  The underlying offense is aggravated assault.  See
Tex. Pen. Code Ann. § 22.02 (West 1994).

Taylor's court-appointed attorney filed a brief concluding that the appeal is frivolous
and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by presenting a professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d
807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v.
State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969).  A copy of counsel's brief was delivered to Taylor, and he was advised of his right to examine
the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The order revoking community supervision is affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Affirmed

Filed:   February 7, 2002

Do Not Publish


